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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

   IN RE:                                            §    CASE NO. 25-30155
                                                     §
   ALLIANCE FARM AND RANCH, LLC,                     §    (CHAPTER 11)
                                                     §
           DEBTOR                                    §
                                                     §
   IN RE:                                            §    CASE NO. 25-31937
                                                     §
   ALLIANCE ENERGY PARTNERS, LLC,                    §    (CHAPTER 11)
                                                     §
           DEBTOR                                    §
                                                     §

     ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF
DYKEMA GOSSETT, PLLC AS ATTORNEYS FOR THE OFFICIAL COMMITTEE OF
   UNSECURED CREDITORS OF ALLIANCE FARM AND RANCH, LLC AND
   ALLIANCE ENERGY PARTNERS, LLC, EFFECTIVE AS OF MAY 13, 2025

         This matter is before the Court upon the Application of the Official Committee of

Unsecured Creditors for Entry of an Order Authorizing the Employment and Retention of Dykema

Gossett, PLLC as Counsel, Effective as of May 13, 2025 (the “Application”), filed by the Official

Committee of Unsecured Creditors (the “Committee”) on June 12, 2025, pursuant to sections 327,

328, and 1103 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014 and 2016

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2014-1 and

2016-1 of the Local Bankruptcy Rules for the Southern District of Texas (the “Local Rules”). In

the Application, the Committee seeks authority to retain and employ Dykema Gossett, PLLC

(“Dykema”) as its attorneys, effective as of May 13, 2025. Upon the representation that, while

employed by the Committee, Dykema does not represent any other entity having an adverse

interest in connection with these chapter 11 Cases in accordance with section 1103(b) of the

Bankruptcy Code, and that Dykema has disclosed any connections with parties set forth in Rule




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2014 of the Bankruptcy Rules; and it appearing that relief requested in the Application is in the

best interest of the Committee and the Debtor’s estate, and the Court having jurisdiction to consider

the Application and the relief requested therein being a core proceeding pursuant to 28 U.S.C.

§ 157(b), and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409, and

having reviewed the Application and the accompanying Declaration of William Hotze in Support

of Application of the Official Committee of Unsecured Creditors for Entry of an Order Authorizing

the Employment and Retention of Dykema Gossett, PLLC as Counsel, Effective as of May 13, 2025,

the Court finds and determines that Dykema does not represent any other entity having an adverse

interest in connection with this chapter 11 Case in accordance with section 1103(b) of the

Bankruptcy Code. Due and proper notice of the Application having been provided, and it appearing

that no other or further notice is necessary or required, and the Court having reviewed the

Application and having determine that the legal and factual bases set forth in the Application

establish just cause for the relief granted herein, and upon all of the proceedings had before the

Court, and after due deliberation and sufficient cause appearing thereof, it is HEREBY ORDER

THAT:

         1.        The Application is GRANTED, as set forth herein.

         2.        Pursuant to section 328 and 1103(a) of the Bankruptcy Code, Rules 2014 and 2016

of the Bankruptcy Rules, and Rules 2014-1 and 2016-1 of the Local Rules, the Committee is

authorized to employ and retain Dykema as its counsel in this chapter 11 Case, with such

employment being effective April 26, 2023.

         3.        Dykema is authorized to render professional services to the Committee in

connection with this chapter 11 Case, as described in the Application.




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         4.        Dykema shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with this chapter 11 Case in accordance with

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the U.S.

Trustee Guidelines, and any other applicable procedures and orders of this Court.

         5.        Notice of the Application as provided therein shall be deemed good and sufficient

notice of such Application and the requirements of the Bankruptcy Rules and the Local Rules are

satisfied by such notice.

         6.        This Court shall retain jurisdiction over any and all issues arising from or related to

the implementation and interpretation of this Order.



Signed:                           , 2025




                                                          ALFREDO R. PEREZ
                                                          UNITED STATES BANKRUPTCY JUDGE




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